U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Raleigh Area Office

434 Fayetteville Street, Suite 700
Raleigh, NC 27601

(984) 275-4800

Website: www.ceoc.gov

DETERMINATION AND N OTICE OF RIGHTS
(This Notice replaces EEOC FORMS 161, 161-A & 161-B)

Issued On: Sept. 29, 2023

To: Jonathan Williams
2802 Double Island Rd
Green Mountain, NC 28740
Charge No: 430-2022-02677

EEOC Representative and email: KRISTEN DISCEPOLA
Investigator
kristen.discepola@eeoc.gov

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute, This does not mean the claims have no merit, This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice,
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 430-2022-02677.

On behalf of the Commission,
Digitally signed by Johnnie

Johnnie M. Barrett. M. Barrett. Area Director

Area Director Date: 2023.09.29 08:47:32
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Johnnie Barrett
Area Office Director

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Ce:

Margaret T McDonald
512 N. Salisbury St
Raleigh, NC 27699

Christopher R Lusby
Lusby Law

2860 Ward Blvd. Suite B
Wilson, NC 27893

Please retain this notice for your records.

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INFORMATION RELATED TO FILING SUIT

UNDER THE LAWS ENFORCED BY THE EEOC
(This information relates to filing suit in Federal or State court under Federal law. If you also
plan to sue claiming violations of State law, please be aware that time limits may be shorter and
other provisions of State law may be different than those described below.)

IMPORTANT TIME LIMITS — 90 DAYS TO FILE A LAWSUIT

If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it (email or envelope).

If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint in
court within 2 years (3 years for willful violations) of the date you did not receive equal pay. This
time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title VII, the
ADA, GINA, the ADEA, or the PWFA referred to above, Therefore, if you also plan to sue under
Title VII, the ADA, GINA, the ADEA or the PWFA, in addition to suing on the EPA claim, your
lawsuit must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https://www.ceoc.gov/employees/lawsuit.cfm.

ATTORNEY REPRESENTATION

For information about locating an attorney to represent you, go to:
https://www.ceoc.gov/employees/lawsuit.cfm.

In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.

How TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS

There are two ways to request a charge file: 1) a Freedom of Information Act (FOIA) request or
2) a “Section 83” request. You may request your charge file under either or both procedures.
EEOC can generally respond to Section 83 requests more promptly than FOIA requests.

Since a lawsuit must be filed within 90 days of this notice, please submit your FOTA and/or
Section 83 request for the charge file promptly to allow sufficient time for EEOC to respond and
for your review.

To make a FOIA request for your charge file, submit your request online at

https://eeoc.arkcase.com/foia/portal/login (this is the preferred method), You may also submit a
FOIA request for your charge file by U.S. Mail by submitting a signed, written request

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identifying your request as a “FOIA Request” for Charge Number 430-2022-02677 to the
District Director at Elizabeth A. Rader, 129 West Trade Street Suite 400

Charlotte, NC 28202.

To make a Section 83 request for your charge file, submit a signed written request stating it is
a "Section 83 Request" for Charge Number 430-2022-02677 to the District Director at Elizabeth
A. Rader, 129 West Trade Street Suite 400

Charlotte, NC 28202.

You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After
the 90 days have passed, you may request the charge file only if you have filed a lawsuit in court
and provide a copy of the court complaint to EEOC.

For more information on submitting FOIA requests, go to
https://www.eeoc.gov/eeoc/foia/index.cfn.

For more information on submitted Section 83 requests, go to https://www.eeoc.gov/foia/section-
83-disclosure-information-charge-files.

NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA)

The ADA was amended, effective January 1, 2009, to broaden the definitions of disability to make
it easier for individuals to be covered under the ADA/ADAAA. A disability is still defined as (1)
a physical or mental impairment that substantially limits one or more major life activities (actual
disability); (2) a record of a substantially limiting impairment; or (3) being regarded as having a
disability. However, these terms are redefined, and it is easier to be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share
this information with your attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at;
http://www.ceoc.gov/laws/types/disability_regulations.cfin.

“Actual” disability or a “record of” a disability

If you are pursuing a failure to accommodate claim you must meet the standards for either “actual”
or “record of” a disability:

v The limitations from the impairment no longer must be severe or significant for the
impairment to be considered substantially limiting.

Y In addition to activities such as performing manual tasks, walking, seeing, hearing,
speaking, breathing, learning, thinking, concentrating, reading, bending, and
communicating (more examples at 29 C.F.R. § 1630.2(i)), “major life activities” now
include the operation of major bodily functions, such as: functions of the immune
system, special sense organs and skin; normal cell growth; and digestive, genitourinary,
bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an
individual organ within a body system.

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Only one major life activity need be substantially limited.

¥ Except for ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications)

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are not considered in determining if the impairment substantially limits a major life
activity.

¥ An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in
remission” (e.g., cancer) is a disability if it would be substantially limiting when active.

¥ An impairment may be substantially limiting even though it lasts or is expected to last
fewer than six months.

“Regarded as” coverage

An individual can meet the definition of disability if an employment action was taken because
of an actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary
leave, termination, exclusion for failure to meet a qualification standard, harassment, or denial of
any other term, condition, or privilege of employment).

v “Regarded as” coverage under the ADAAA no longer requires that an impairment be
substantially limiting, or that the employer perceives the impairment to be substantially
limiting.

v The employer has a defense against a “regarded as” claim only when the impairment at
issue is objectively both transitory (lasting or expected to last six months or less) and
minor.

¥ A person is not able to bring a failure to accommodate claim if the individual is covered
only under the “regarded as” definition of “disability”.

Note: Although the amended ADA states that the definition of disability “shall be construed
broadly” and “should not demand extensive analysis,” some courts require specificity in the
complaint explaining how an impairment substantially limits a major life activity or what facts
indicate the challenged employment action was because of the impairment. Beyond the initial
pleading stage, some courts will require specific evidence to establish disability. For
moreinformation, consult the amended regulations and appendix, as well as explanatory
publications, available at http://www.ceoc.gov/laws/types/disability_regulations.cfm.

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